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IN THE UNITED STATES DISTRICT COURT |

FOR THE SOUTHERN DISTRICT OF GEORGIA ..

DUBLIN DIVISION M Cuduy

ENCARNACION )
CHAVEZ-MONTEMAYOR, )
Petitioner,
V. CV 321-034
STACEY N. STONE, Warden,
Respondent.
ORDER

After a careful, de novo review of the file, the Court concurs with the Magistrate
Judge’s Report and Recommendation, to which no objections have been filed. Accordingly,
the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion,
GRANTS Respondent’s motion to dismiss, (doc. no. 4), DISMISSES the petition filed
pursuant to 28 U.S.C. § 2241, CLOSES this civil action, and DIRECTS the Clerk to enter an

appropriate judgment of dismissal.

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SO ORDERED thiskD day of ODL 2021, at Augusta, Georgia.

lM OED

UNITED STAZES DISTRICT JUDGE

 
